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                                                                          EXHIBIT 55
   U.S. DEPARTMENT OF THE TREASURY

   Press Center



    Treasury Targets Networks Linked To Iran
    2/6/2014
                                                       Underscores U.S. Commitment to Enforce Iran Sanctions Worldwide


    WASHINGTON – Today the U.S. Department of the Treasury announced actions targeting a diverse set of entities and individuals located around the world for
    evading U.S. sanctions against Iran, aiding Iranian nuclear and missile proliferation, and supporting terrorism. These actions reflect the United States’ sustained
    commitment to continue enforcing our existing sanctions as the P5+1 and Iran work toward a comprehensive solution to address the international community’s
    concerns over Iran’s nuclear program.

    “The global targets designated today play key roles in supporting Iran’s nuclear program and active support for terrorism. The United States has made clear that as it
    implements the Joint Plan of Action, contingent on Iran satisfying its own commitments, the overwhelming majority of sanctions remain in effect and will continue to be
    vigorously enforced,” said Under Secretary for Terrorism and Financial Intelligence David S. Cohen.

    Today’s actions target entities and individuals located across the world, operating in Turkey, Spain, Germany, Georgia, Afghanistan, Iran, the United Arab Emirates,
    and Liechtenstein.

    The actions under Executive Orders (E.O.) 13224 and 13382 generally prohibit transactions between the designated entities and individuals and any U.S. person, and
    block any property and interests in property under U.S. jurisdiction of the designated entities and individuals. In addition, any foreign financial institution or person that
    facilitates significant transactions or provides material support to the designated entities or individuals may have their access to the U.S. financial system severed or
    their property and interests in property under U.S. jurisdiction blocked.

    The actions under E.O. 13608 generally prohibit transactions involving the sanctioned persons that are subject to U.S. jurisdiction, including transactions by U.S.
    persons, wherever located.

    Foreign Sanctions Evaders

    Pourya Nayebi, Houshang Hosseinpour, and Houshang Farsoudeh

    Pursuant to E.O. 13608, which targets foreign persons engaged in activities intended to evade U.S. economic and financial sanctions with respect to Iran and Syria,
    the Department of the Treasury sanctioned Georgia-based Pourya Nayebi, Houshang Hosseinpour, and Houshang Farsoudeh and eight companies owned or
    controlled by these individuals. These three individuals have established companies and financial institutions in multiple countries, and have used these companies to
    facilitate deceptive transactions for or on behalf of persons subject to U.S. sanctions concerning Iran. In 2011, they acquired the majority shares in a licensed
    Georgian bank with direct correspondent ties to other international financial institutions through a Liechtenstein-based foundation they control. They then used the
    Georgian bank to facilitate transactions worth the equivalent of tens of millions of U.S. dollars for multiple designated Iranian banks, including Bank Melli, Mir Business
    Bank, Bank Saderat, and Bank Tejarat.

    Nayebi, Hosseinpour, and Farsoudeh deceived the financial regulatory authorities of the Republic of Georgia by withholding required reports of transactions involving
    Iranian banks. The Government of Georgia has worked closely with the United States to detect and address illicit and deceptive Iranian behavior in Georgia, and it
    has taken steps to ensure that Iranian entities under U.S. and international sanctions are prevented from exploiting the Georgian financial system.

    Treasury is also imposing sanctions on eight companies located in multiple countries that are owned and/or controlled by Nayebi, Hosseinpour, and Farsoudeh (acting
    individually or together), including: Caucasus Energy (Georgia), Orchidea Gulf Trading (UAE and/or Turkey), Georgian Business Development (Georgia and/or UAE),
    Great Business Deals (Georgia and/or UAE), KSN Foundation (Liechtenstein), New York General Trading (UAE), New York Money Exchange (UAE and/or Georgia),
    and European Oil Traders (Switzerland). KSN Foundation was used to disguise the control of the Georgian bank by Nayebi, Hosseinpour, and Farsoudeh, and the
    other entities were involved in the transactions for designated Iranian banks discussed above. On multiple occasions, these front companies deceived the
    international financial community, including by generating false invoices in connection with transactions involving designated Iranian banks.

    Iran’s Nuclear and Weapons Proliferation Activities

    The following entities and individuals are sanctioned pursuant to E.O. 13382, which, among other things, targets weapons of mass destruction proliferators and their
    supporters.

    Ali Canko and the Tiva Sanat Group

    Turkish citizen Ali Canko assisted the Iran-based Tiva Sanat Group in its attempts to procure and reverse engineer a weapons-capable fast boat to be used by the
    IRGC-Navy. The Tiva Sanat Group is comprised of Tiva Kara, Tiva Darya, and Tiva Polymer. Tiva Sanat Group uses front companies to acquire foreign technology
    and components, with at least one intermediary expressing concern that a payment would be interdicted by the U.S. Treasury because the intermediary falsely
    claimed to be the end-user for equipment that was intended for Tiva Sanat. Ali Canko has served as a financial intermediary for payments from the Tiva Sanat Group
    to various international suppliers. The IRGC was designated pursuant to E.O. 13382 in October 2007 for having engaged, or attempted to engage, in proliferation-
    related activities.

    Advance Electrical and Industrial Technologies SL and Pere Punti

    Advance Electrical and Industrial Technologies SL (AEIT), located in Spain, procures items from foreign suppliers and facilitates financial transactions for the
    previously E.O. 13382-designated Neka Novin. Spanish citizen Pere Punti is AEIT’s sole shareholder and also arranges to facilitate payments on behalf of Neka
    Novin. Neka Novin was designated pursuant to E.O. 13382 in November 2011 for its involvement in the procurement of specialized equipment and materials that
    have direct application to Iran’s nuclear program.

    Ulrich Wippermann, DF Deutsche Forfait Aktiengesellschaft, DF Deutsche Forfait Americas Inc.



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    German firm DF Deutsche Forfait Aktiengesellschaft (Deutsche Forfait) and Deutsche Forfait board member Ulrich Wippermann facilitated oil deals in circumvention
    of oil sanctions for NIOC, an entity determined to be an agent or affiliate of the IRGC and designated under E.O. 13382. DF Deutsche Forfait Americas Inc. is the
    U.S. subsidiary of Deutsche Forfait. NIOC was designated pursuant to E.O. 13382 in November 2012 for providing or attempting to provide, financial, material, or
    other support for and services in support of the IRGC.

    Terrorism – Entities and Individuals Affiliated with Mahan Air

    The U.S. Department of the Treasury announced today the designation pursuant to E.O. 13224 of key Mahan Air officials and front companies in the UAE that have
    served as critical conduits for Mahan Air financial payments as well as intermediaries for the airline’s acquisition of aircraft, engines, and other parts. These front
    companies have served as part of the procurement backbone of Mahan Air, enabling the sanctioned airline to continue ferrying significant quantities of weapons and
    other illicit cargo into Syria on its own passenger aircraft to support the Assad regime’s violent crackdown against its own citizens. Mahan Air was previously
    designated pursuant to E.O. 13224 in October 2011 for its support to Iran’s IRGC-QF.

    Blue Sky Aviation Co FZE (BSA FZE)

    BSA FZE is a UAE-based company that is owned or controlled by Mahan Air and acts for or on behalf of the airline. BSA FZE’s primary function has been to serve as a
    payment channel for Mahan Air to obscure the origination of funds. Mahan Air has used BSA to make payments to oil suppliers, and purchase aircraft, engines, and
    parts.

    Avia Trust FZE

    Avia Trust FZE is another UAE-based company that is owned or controlled by Mahan Air and acts for or on behalf of the airline. Mahan Air has used Avia Trust FZE to
    procure sanctioned aircraft parts and equipment, to include items that are of U.S.-origin. The IRGC has used Avia Trust FZE as a front to procure aviation-related
    items, some of which are subject to international sanctions. In addition, the IRGC has used Avia Trust FZE as a front to assist with avoiding customs inspections in
    the UAE of cargo destined for Iran, some of which included items subject to international sanctions.

    Hamidreza Malekouti Pour

    Hamidreza Malekouti Pour has served as the regional manager for Mahan Air in the UAE and the managing director of Sirjanco Trading LLC and BSA FZE. Malekouti
    Pour, operating out of Mahan Air’s office in the UAE, has supplied equipment to the IRGC-QF. Sirjanco Trading LLC was designated pursuant to E.O. 13224 on May 31,
    2013, for acting for or on behalf of Mahan Air.

    Pejman Mahmood Kosarayanifard

    Pejman Mahmood Kosarayanifard acts for or on behalf of Mahan Air through his actions as the owner of Avia Trust FZE and several other companies engaging in
    business on behalf of Mahan Air. Kosarayanifard has established agreements with Mahan Air to have Avia Trust FZE serve as a cutout for the repair and overhaul of
    Mahan Air aircraft engines. Kosarayanifard has also established agreements with Mahan Air to manage the airline’s cargo shipments and is reportedly responsible for
    IRGC procurement activities in the UAE.

    Gholamreza Mahmoudi

    Gholamreza Mahmoudi acts for or on behalf of Mahan Air as a senior official and corporate director at Mahan Air. Mahmoudi has worked closely with Mahan Air
    Managing Director Hamid Arabnejad on sanctions evasion strategies to acquire U.S. aircraft. Hamid Arabnejad was designated pursuant to E.O. 13224 on May 31,
    2013 for acting for or on behalf of Mahan Air.

    Terrorism – IRGC-QF in Afghanistan

    Today the Department of the Treasury announced the designations pursuant to E.O. 13224 of three IRGC-QF officers and one IRGC-QF associate involved in
    Iranian efforts in Afghanistan. This action underscores Tehran’s use of terrorism and intelligence operations as tools of influence against the Government of the Islamic
    Republic of Afghanistan.

    IRGC-QF utilized now-detained Afghan associate, Sayyed Kamal Musavi, who was designated today, to plan and execute attacks in Afghanistan. Two IRGC-QF
    officers also designated today, Alireza Hemmati and Akbar Seyed Alhosseini, provided logistical support to this associate. Another IRGC-QF officer, Mahmud
    Afkhami, is being designated today to highlight his influence over Afghan political affairs and his efforts to advance Iranian interests with the Government of the
    Islamist Republic of Afghanistan.

    In August 2010, Treasury similarly took action against two IRGC-QF leaders supporting terrorism in Afghanistan and funneling Iranian assistance to the Taliban.
    Treasury then designated IRGC-QF General Hossein Musavi, the Commander of the IRGC-QF Ansar Corps, whose responsibilities include IRGC-QF activities in
    Afghanistan. Treasury also designated IRGC-QF Colonel Hasan Mortezavi. Both Musavi and Mortezavi provided funding and material support to the Taliban as part of
    their official duties as IRGC-QF officers.

    Sayyed Kamal Musavi

    Sayyed Kamal Musavi is being designated for acting for or on behalf of the IRGC-QF as a facilitator and operational planner. Musavi assisted the IRGC-QF in conducting
    surveillance and planning terrorist attacks in Afghanistan in 2010 prior to his arrest. Musavi operated in Kabul and was part of an attack cell targeting an Afghan
    official and was apprehended with associates, who were at the time carrying large quantities of explosives and detonators.

    Alireza Hemmati

    Alireza Hemmati is being designated for acting for or on behalf of the IRGC-QF. Hemmati is an IRGC-QF chief for Afghanistan-focused operations conducted by the
    IRGC-QF, who provided key logistics support for now detained Afghan associate, Sayyed Kamal Musavi. Hemmati worked closely with Musavi while Musavi plotted
    attacks in Afghanistan, having sent supplies from Iran to Musavi and arranged travel documents for him. Hemmati is pressing for Musavi's release from detention.

    Akbar Seyed Alhosseini

    Akbar Seyed Alhosseini serves as a key IRGC-QF officer who oversees the group’s activities in Afghanistan and is being designated for acting for or on behalf of the
    IRGC-QF. Seyed Alhosseini previously served as chief of the IRGC-QF’s office in Herat, Afghanistan. He has arranged travel documents and logistics for IRGC-QF
    officers and associates, including now detained Afghan associate Sayyed Kamal Musavi, prior to Musavi’s arrest.

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    Mahmud Afkhami Rashidi

    Mahmud Afkhami is a high-ranking IRGC-QF official within the elite IRGC-QF operations unit working in Afghanistan and is being designated for acting for or on
    behalf of the IRGC-QF. Afkhami’s responsibilities include currying favor with Afghan politicians who are sympathetic to Iran to strengthen the Iranian power base in
    Kabul.

    Terrorism – al-Qa’ida’s Network in Iran

    Today the U.S. Department of the Treasury announced the designation of a key Iran-based al-Qa’ida facilitator who supports al-Qa’ida’s vital facilitation network in Iran,
    that operates there with the knowledge of Iranian authorities. The network also uses Iran as a transit point for moving funding and foreign fighters through Turkey to
    support al-Qa’ida-affiliated elements in Syria, including the al-Nusrah Front.

    Olimzhon Adkhamovich Sadikov

    Treasury today designated Iran-based Islamic Jihad Union facilitator Olimzhon Adkhamovich Sadikov (also known as Jafar al-Uzbeki and Jafar Muidinov) for acting for
    on behalf of and providing support to al-Qa’ida.

    Today's action, taken pursuant to Executive Order (E.O.) 13224, follows Treasury’s designations in July 2011 of Ezedin Abdel Aziz Khalil (also known as Yasin al-
    Suri) and October 2012 of Adel Radi Saqr al-Wahabi al-Harbi, two al-Qa’ida officials who served as the head and deputy of al-Qa’ida's Iran network, respectively. The
    State Department also authorized rewards totaling $17 million for information leading to the locations of al-Suri and al-Harbi, and additionally offered $10 million in
    October 2012 for information leading to the location of Muhsin al-Fadhli, who previously led the Iran-based al-Qa’ida network, and was designated by Treasury and
    the United Nations in February 2005.

    Jafar al-Uzbeki is a member of the Islamic Jihad Union and provides logistical support and funding to al-Qa’ida's Iran-based network. As an associate of designated al-
    Qa’ida facilitator Yasin al-Suri, al-Uzbeki serves as a key extremist smuggler based in Mashhad, Iran, near the country's border with Afghanistan, and has provided
    visas and passports to numerous foreign fighters, including al-Qa'ida recruits, to facilitate their travel. Al-Uzbeki has assisted extremists and operatives transiting Iran
    on their way into and out of Pakistan and Afghanistan. Al-Uzbeki has also provided funding to al-Suri, who has resumed leadership of al-Qa’ida's Iran-based network
    after being temporarily detained there in late 2011.

    As head al-Qa’ida facilitator in Iran, Yasin al-Suri is responsible for overseeing al-Qa’ida efforts to transfer experienced operatives and leaders from Pakistan to Syria,
    organizing and maintaining routes by which new recruits can travel to Syria via Turkey, and assisting in the movement of al-Qa’ida external operatives to the West.

    Al-Qa’ida’s network in Iran has facilitated the transfer of funds from Gulf-based donors to al-Qa’ida core and other affiliated elements, including the al-Nusrah Front in
    Syria. The Iran-based al-Qa’ida network has also leveraged an extensive network of Kuwaiti jihadist donors to send money to Syria via Turkey.

    Identifying Information

    Name: Pourya Nayebi
    AKA: Pourya Ali Asghar Nayebi
    DOB: 25 July 1974
    Place of Birth: Tehran, Iran
    Passport: V11664675 (Iran) Exp. Date: 7 August 2012

    Name: Houshang Hosseinpour
    AKA: Houshang Hosein-Pur
    AKA: Houshang Shahali Hosseinpour
    DOB: 21 March 1967
    Place of Birth: Tehran, Iran
    Passport: R17550559 (Iran) Exp. Date: 11 July 2015

    Name: Houshang Farsoudeh
    AKA: Hushang Farsoudeh
    AKA: Houshang Hossein Farsoudeh
    DOB: 10 October 1968
    Place of Birth: Tehran, Iran
    Passport: H2726141 (Iran)

    Name: Caucasus Energy
    AKA: LLC Caucasus Energy
    AKA: Caucasus Energy of Georgia
    Address: Georgia
    Registration #: 406075081

    Name: Orchidea Gulf Trading
    AKA: Orchidea General Trading LLC
    AKA: Orchidea Gulf Exchange Trading Co L
    AKA: Orchidea Gulf Coast Trading Co L
    AKA: Orchidea Gulf Trading Altin Ve Kiymelti Madenler Dis Tic LTD STI
    Address: P.O. Box 11254, Dubai, UAE
    Alt Address: P.O. Box 11254, 6305 Zinath Omar Kin Khatab, Dubai, UAE
    Alt Address: P.O. Box 11256 Zinath Omar Kin Khatab, Dubai, UAE
    Alt Address: P.O. Box 6305 Zinath Omar Kin Khatab, Dubai, UAE
    Alt Address: P.O. Box 85334 Dubai, UAE
    Alt Address: P.O. Box 85334, Office Number 605, Concord Hotel, Al Matoum Street, Dubai, UAE
    Alt Address: Molla Gurani Mahallesi Sehit Pilot Nedim Sok. Evirgenler Ish. 5/5, Istanbul, Turkey

    Name: Georgian Business Development
    AKA: GBD FIZ
    AKA: GBD FIZ, LLC
    AKA: GBD FIZ Limited
    Address: Tbilisi, Georgia
    Alt. Address: Plot 545, Unit 1B-8D, Free Industrial Zone, Poti, Georgia

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    Alt. Address: Deira, Dubai, UAE

    Name: Great Business Deals
    Address: Tbilisi, Georgia
    Alt. Address: Plot 545, Unit 1B-8D, Free Industrial Zone, Poti, Georgia
    Alt. Address: Deira, Dubai, UAE

    Name: KSN Foundation
    Address: Muehleholz 3, Vaduz Liechtenstein, 94490, Liechtenstein

    Name: New York General Trading
    AKA: NYGT
    Address: No. 815, Al Maktoum Building, Al Maktoum St., Deira,
    P.O. Box 42108, Dubai, UAE
    Registration No.: 547066

    Name: New York Money Exchange
    AKA: NYME
    Address: P.O. Box 85334, Dubai, UAE
    Alt Address: Shop 14 Al MM Tower Al Maktoum St, Dubai UAE
    Alt Address: P.O. Box 31138, Abu Dhabi, UAE
    Alt Address: P.O. Box 42108, Dubai, UAE
    Commercial License No.: 549905, Dubai, UAE
    Alt Address: 20 Rustaveli Avenue, Tbilisi, Georgia
    Alt Address: Tbilisi International Airport, Tbilisi, Georgia
    Alt Address: Batumi Airport, Batumi, Georgia

    Name: European Oil Traders
    AKA: European Oil Traders SA
    Address: Kaiserstuhlerstrasse 81, 8175 Windlach, Switzerland
    Alt Address: 8174 Stadel b. Niederglatt, Switzerland

    Name: Tiva Sanat Group
    AKA: Tiva Group Industries
    AKA: Tiva Sanat Shipbuilding Company
    Aka: Tiva Group
    Address: Alley 10 and 3/10, No. 10, Behrestan Street, Sajad Boulevard, Mashhad, Iran
    Alt Address: Number 4, 11th Narenjestan, Pasdaran Avenue, Tehran, Iran
    Alt Address: Number 3, 12th Narenjestan, Pasdaran, Tehran, Iran
    Registrations Number 878

    Name: Tiva Kara Co. Ltd.
    AKA: Tiva Kara Group
    Address: 3rd Floor, Block No. 3, North Pasdaran Street, 12th Narenjestan Alley, Before Aghdasie T — Junction Aqdaseya Saraya, Tehran, Iran
    Alt Address: Number 3. 12th Narenjestan Alley, Pasdaran Avenue, Tehran
    Location: Miyaneh, Iran
    Alt Address: Bushehr, Iran

    Name: Tiva Polymer Co.
    Address: Number 3, 12th Narenjestan Street, Pasdaran Avenue, Tehran, Iran.
    Alt Address: Miyaneh, Iran

    Name: Tiva Darya
    Address: Number 3, 12 Narenjestan Street, Pasdaran Avenue, Tehran.
    Alt Address: Bushehr, Iran

    Name: Ali Canko
    Nationality: Turkey
    Passport: U 04765836 (Turkey)
    Personal ID Card: 58786069032
    Alt Personal ID Card: AK 8136255 (Italy)
    DOB: 01 Jan 1960

    Name: Advance Electrical and Industrial Technologies SL
    AKA: Clear Trade Link SL
    Address: Passeig Verdauguer, 120, 08700, Igualada, Barcelona, Spain

    Name: Pere Punti
    AKA: Pedro Punti Sane
    Nationality: Spain
    Passport: AAD225212 (Spain); Exp. Date: 12 May 2020
    DOB: 27 August 1944

    Name: Ulrich Wippermann
    DOB: 02 May 1956
    Title: Member of the Board of Directors, DF Deutsche Forfait Aktiengesellschaft

    Name: DF Deutsche Forfait Aktiengesellschaft
    AKA: Deutsche Forfait
    Address: Kattenbug 18 - 24, Koln, Nordrhein-Westfalen 50667, Germany

    Name: DF Deutsche Forfait Americas Inc.
    Address: Miami, FL USA

    Name: Blue Sky Aviation Co FZE
    Address: Al Maktoum Street, al Dana Centre, 3rd Floor, Office No. 306, Dubai, United Arab Emirates


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   Name: Avia Trust FZE
   Location: P.O. Box 54541, Dubai, UAE

   Name: Hamidreza Malekouti Pour
   AKA: Hamidreza Malakotipour
   AKA: Hamid Reza Malakotipour
   AKA: Hamid Reza Malakutipur
   AKA: Hamid Reza Malkotipour
   AKA: Hamid Reza Malakoutipour
   DOB: October 18, 1960
   Iranian Passport: B5660433

   Name: Pejman Mahmood Kosarayanifard
   AKA: Kosarian Fard
   AKA: Pejman Kosaryani-Fard
   AKA: Pejman Kosarian Fard
   AKA: Pejman Casaryanifard
   AKA: Ali Pejman Mahmud Kosarayan Fard
   AKA: Amir Kosarian
   DOB: February 27, 1973
   Passport: C20423657
   P.O. Box: 52404, Dubai, UAE

   Name: Gholamreza Mahmoudi
   AKA: Qolam Reza Mahmudi
   AKA: Gholam Reza Mahmoudi
   AKA: Ghulam Reza Khodrat Mahmoudi
   DOB: February 3, 1958
   Nationality: Iran
   Passport: 5659068

   Name: Sayyed Kamal Musavi
   AKA: Sayyed Kamal Jamali
   DOB: January 3. 1958

   Name: Alireza Hemmati
   DOB: December 1955

   Name: Akbar Seyed Alhosseini
   AKA: Akbar Seyedolhoseini
   AKA: Akbar Sayed Alhosseini
   AKA: Akbar Sayedolhusseini
   AKA: Akbar Saeed Husaini
   AKA: Akbar Sayyed al-Hoseini
   DOB: November 22, 1961
   POB: Taybad, Iran
   Passport Number: D9004309 (issued November 12, 2008, expires November 13, 2013)

   Name: Mahmud Afkhami Rashidi
   AKA: Mahmoud Afkhami Rashidi
   AKA: Mahmood Afkhami Rashidi
   DOB: August 31, 1962
   POB: Mashhad, Iran
   Nationality: Iranian
   Passport Number: D9005625 (issued July 11, 2009; expires July 11, 2014)

   Name: Olimzhon Adkhamovich Sadikov
   AKA: Jafar al-Uzbeki
   AKA: Jaffar al-Uzbek
   AKA: Jafar Muhidinov
   AKA: Dilshod Alimovich Muidinov
   AKA: Djafar Muidinov
   AKA: Jafar Muidinov
   Ethnicity: Uzbek
   Nationality: Uzbekistan
   DOB: 1977-1985

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